8:14-cr-00225-LSC-MDN         Doc # 155     Filed: 04/16/15    Page 1 of 2 - Page ID # 258




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )             CASE NO. 8:14CR225
                                            )
              Plaintiff,                    )
                                            )
              vs.                           )             TENTATIVE FINDINGS
                                            )
JAMIE TRUJILLO,                             )
                                            )
              Defendant.                    )

       The Court has received the Presentence Investigation Report (“PSR”). The parties

have not objected to the PSR. The government adopted the PSR (Filing No. 147). See

Order on Sentencing Schedule, ¶ 6. The Court advises the parties that these Tentative

Findings are issued with the understanding that, pursuant to United States v. Booker, 543

U.S. 220 (2005), the sentencing guidelines are advisory.

       Accordingly,

       IT IS ORDERED:

       1.     The Court intends to adopt the PSR at the tim e of sentencing;

       2.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       3.     Absent submission of the information required by paragraph 2 of this Order,

these tentative findings are final; and
8:14-cr-00225-LSC-MDN       Doc # 155       Filed: 04/16/15   Page 2 of 2 - Page ID # 259




      4.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

      DATED this 16th day of April, 2015.

                                        BY THE COURT:


                                        s/Laurie Smith Camp
                                        Chief United States District Judge




                                             2
